       Case 5:18-cv-01983-LCB Document 85-7 Filed 10/07/20 Page 1 of 5                 FILED
                                                                              2020 Oct-07 AM 11:22
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                             NORTHEASTERN DIVISION

 NUCLEAR DEVELOPMENT, LLC,                 §
                                           §
       Plaintiff,                          §
                                           §
                                               CIVIL ACTION CASE NUMBER:
 v.                                        §
                                           §
                                                       5:18-cv-01983-LCB
 TENNESSEE VALLEY                          §
 AUTHORITY,                                §
                                           §
       Defendant.

       DEFENDANT’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S
        AMENDED THIRD SET OF REQUESTS FOR ADMISSION

      Defendant Tennessee Valley Authority (“TVA”) submits the following

responses and objections to Plaintiff’s Amended Third Set of Requests for

Admission:

      1.     As of November 30, 2018 and in its present condition, Bellefonte Unit

1 is not a utilization facility as defined by 10 CFR 50.2.

RESPONSE:            TVA objects to this request because it is a compound

statement containing multiple propositions of fact and thus each request is not

limited to a single fact as required by Fed. R. Civ. P. 36(a)(2). Without waiving

that objection, TVA will construe this as two requests (one as of November 30,

2018, and the other as of the present), and responds that both requests are

denied.
       Case 5:18-cv-01983-LCB Document 85-7 Filed 10/07/20 Page 2 of 5




      2.     As of November 30, 2018 and in its present condition, Bellefonte Unit

2 is not a utilization facility as defined by 10 CFR 50.2.

RESPONSE:           TVA objects to this request because it is a compound

statement containing multiple propositions of fact and thus each request is not

limited to a single fact as required by Fed. R. Civ. P. 36(a)(2). Without waiving

that objection, TVA will construe this as two requests (one as of November 30,

2018, and the other as of the present), and responds that both requests are

denied.

      3.     As of November 30, 2018 and in its present condition, Bellefonte Unit

1 cannot be used to sustain nuclear fission in a self-supporting chain reaction.

RESPONSE:           TVA objects to this request because it is a compound

statement containing multiple propositions of fact and thus each request is not

limited to a single fact as required by Fed. R. Civ. P. 36(a)(2). Without waiving

that objection, TVA will construe this as two requests (one as of November 30,

2018, and the other as of the present), and responds that both requests are

admitted.

      4.     As of November 30, 2018 and in its present condition, Bellefonte Unit

2 cannot be used to sustain nuclear fission in a self-supporting chain reaction.

RESPONSE:           TVA objects to this request because it is a compound

statement containing multiple propositions of fact and thus each request is not


                                          2
       Case 5:18-cv-01983-LCB Document 85-7 Filed 10/07/20 Page 3 of 5




limited to a single fact as required by Fed. R. Civ. P. 36(a)(2). Without waiving

that objection, TVA will construe this as two requests (one as of November 30,

2018, and the other as of the present), and responds that both requests are

admitted.

      5.    TVA’s March 22, 2010 “Bellefonte Nuclear Plant Unit 1 and Common

Completion Project” report produced by TVA as TVABLN00001105-1205 (the

“BLN DSEP Report”) genuinely constitutes the Detailed Scoping, Estimating and

Planning Study report issued by TVA’s Nuclear Generation, Development and

Construction Group as of such date.

RESPONSE:         Admitted.

      6.    The plant components listed in Table 2-1 at page 14 of the BLN DSEP

Report as having been removed by TVA have not been replaced to the present date.

RESPONSE:         TVA objects to this request because it is a compound

statement containing multiple propositions of fact and thus each request is not

limited to a single fact as required by Fed. R. Civ. P. 36(a)(2). Without waiving

that objection, TVA will construe this as ten requests (one for each category on

Table 2-1), and responds as follows: The request pertaining to the category on

Table 2-1 entitled “Steam Generator Material/Installation Contract” is denied

because TVA has purchased replacement steam generators. The requests

pertaining to the remaining categories on Table 2-1 are admitted.


                                       3
Case 5:18-cv-01983-LCB Document 85-7 Filed 10/07/20 Page 4 of 5




                            s/ Matthew H. Lembke
                            Attorney for Defendant


                            OF COUNSEL:

                            Matthew H. Lembke
                            Riley McDaniel
                            BRADLEY ARANT BOULT CUMMINGS LLP
                            1819 Fifth Avenue North
                            Birmingham, Alabama 35203-2119
                            Telephone: (205) 521-8000
                            Facsimile: (205) 521-8800
                            mlembke@bradley.com
                            rmcdaniel@bradley.com

                            David D. Ayliffe
                            Steven C. Chin
                            Jill McCook
                            Office of the General Counsel
                            TENNESSEE VALLEY AUTHORITY
                            400 West Summit Hill Drive, WT6
                            Knoxville, Tennessee 37902
                            Telephone: (865) 632-3052
                            ddayliffe@tva.gov
                            scchin@tva.gov
                            jemccook@tva.gov




                              4
       Case 5:18-cv-01983-LCB Document 85-7 Filed 10/07/20 Page 5 of 5




                         CERTIFICATE OF SERVICE

      I hereby certify that on June 16, 2020, the foregoing document was served via
e-mail on the following counsel of record for ND:

            Caine O’Rear, III
            Hand Arendall Harrison Sale, LLC
            Post Office Box 123
            Mobile, Alabama 36601
            corear@handarendall.com

            Edward Shane Black
            Hand Arendall LLC
            102 South Jefferson Street
            Athens, Alabama 35611
            sblack@handarendall.com

            Larry David Blust
            Hughes Socol Piers Resnick Dym, Ltd.
            70 West Madison Street, Suite 4000
            Chicago, Illinois 60602
            lblust@hsplegal.com



                                             s/ Matthew H. Lembke
                                             OF COUNSEL




                                         5
